                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 18-14318-aih
William Shamus Keener                                                                                      Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: admin                        Page 1 of 1                          Date Rcvd: Oct 11, 2018
                                      Form ID: 177a                      Total Noticed: 19


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 13, 2018.
db             +William Shamus Keener,    26500 Hilliard Blvd.,   Westlake, OH 44145-3206
25559819        CHASE AUTO,   P.O. BOX 901003,    COLUMBUS, OH 43224
25559820       +CHASE BANK,   P.O. BOX 901003,    FORT WORTH, TX 76101-2003
25559821       +CUYAHOGA COUNTY COMMON PLEAS,    1200 ONTARIO STREET,    CLEVELAND, OH 44113-1604
25559822       +LERNER SAMPSON & ROTHFUSS,    120 EAST FOURTH STREET,    CINCINNATI, OH 45202-4070
25559823       +LORAIN MUNICIPAL COURT,    200 WEST ERIE AVENUE,     LORAIN, OH 44052-1606
25559825       +PNC BANK,   1900 EAST NINTH STREET,    CLEVELAND, OH 44114-3484
25559827       +ROCKY RIVER MUNICIPAL COURT,    21012 HILLIARD BLVD,,    ROCKY RIVER, OH 44116-3398
25559828       +SHERMETA LAW GROUP,    P.O. BOX 5016,   ROCHESTER, MI 48308-5016

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: QSSTEIN.COM Oct 12 2018 02:18:00      Sheldon Stein,    S. Stein Company LLC,
                 50 Public Square, Suite 2200,    Post Office Box 5606,    Cleveland, OH 44101-0606
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Oct 11 2018 22:46:50        Cynthia J. Thayer,
                 US Department of Justice,   201 Superior Avenue,     Suite 441,   Cleveland, OH 44114-1234
25559817        EDI: CAPITALONE.COM Oct 12 2018 02:19:00      CAPITAL ONE BANK USA,     15000 CAPITAL ONE DRIVE,
                 RICHMOND, VA 23238
25559818       +EDI: CHASE.COM Oct 12 2018 02:19:00      CHASE,   ATTN: PRESIDENT,     P.O. BOX 15298,
                 WILMINGTON, DE 19850-5298
25559824       +EDI: RMSC.COM Oct 12 2018 02:20:00      OLD NAVY,    P.O. BOX 960017,    ORLANDO, FL 32896-0017
25559826        EDI: PRA.COM Oct 12 2018 02:18:00      PORTFOLIO RECOVERY ASSOC.,     120 CORPORATE BLVD, #100,
                 NORFOLK, VA 23502
25561723       +EDI: PRA.COM Oct 12 2018 02:18:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
25559829       +EDI: RMSC.COM Oct 12 2018 02:20:00      SYNCHRONY BANK,    200 CROSSING BLVD,
                 BRIDGEWATER, NJ 08807-2861
25559831       +EDI: WFFC.COM Oct 12 2018 02:19:00      WELLS FARGO,    P.O. BOX 10335,
                 DES MOINES, IA 50306-0335
25559830       +EDI: WFFC.COM Oct 12 2018 02:19:00      WELLS FARGO,    800 WALNUT STREET,
                 DES MOINES, IA 50309-3891
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                JPMorgan Chase Bank, N.A.
cr                WELLS FARGO BANK, NA
aty*             +Sheldon Stein,   S. Stein Company LLC,   50 Public Square, Suite 2200,    Post Office Box 5606,
                   Cleveland, OH 44101-0606
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                               TOTALS: 2, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 13, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 11, 2018 at the address(es) listed below:
              Edward A. Bailey    on behalf of Creditor    JPMorgan Chase Bank, N.A. bknotice@reimerlaw.com
              Mia L. Conner    on behalf of Creditor    WELLS FARGO BANK, NA nohbk@lsrlaw.com
              Sheldon Stein     ssteindocs@gmail.com,
               sstein@ecf.epiqsystems.com;sheldon@steintrustee.com;kristine@steintrustee.com
              Sheldon Stein     on behalf of Trustee Sheldon Stein ssteindocs@gmail.com,
               sstein@ecf.epiqsystems.com;sheldon@steintrustee.com;kristine@steintrustee.com
              William J. Balena    on behalf of Debtor William Shamus Keener docket@ohbksource.com,
               debra@ohbksource.com
                                                                                              TOTAL: 5



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                                        Northern District Of Ohio
                                     United States Bankruptcy Court
                                  Howard M. Metzenbaum U.S. Courthouse
                                          201 Superior Avenue
                                       Cleveland, OH 44114−1235
                                                Case No. 18−14318−aih

In re: (Name of Debtor)
   William Shamus Keener
   26500 Hilliard Blvd.
   Westlake, OH 44145
Social Security No.:
   xxx−xx−5955




                                NOTICE OF NEED TO FILE PROOF OF CLAIM
                                     DUE TO RECOVERY OF ASSETS

To the Creditors and Parties in Interest:

The initial notice in this case instructed creditors not to file a proof of claim. Assets have since been recovered by the
trustee and creditors who wish to share in distribution of funds must file a proof of claim with the clerk at:

                                          United States Bankruptcy Court
                                       Howard M. Metzenbaum U.S. Courthouse
                                               201 Superior Avenue
                                            Cleveland, OH 44114−1235

                                       Last date to file claims: January 18, 2019

Creditors who do not file a proof of claim on or before the last date to file claims will not share in distribution. A
Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B410") can
be obtained at the United States Courts Web site: (http://www.uscourts.gov) or at any bankruptcy clerk's office.

If you wish to receive proof of receipt by the bankruptcy court, enclose a photocopy of the proof of claim with
                a stamped, self−addressed envelope. There is no fee for filing the proof of claim.

           Any creditor who has previously filed a proof of claim need not file another proof of claim.



Dated: October 11, 2018                                                            For the Court
Form ohnb177                                                                Teresa D. Underwood, Clerk




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